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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

WYETH LLC, WYETH                                )
PHARMACEUTICALS LLC, PF PRISM                   )
C.V., PFIZER PHARMACEUTICALS LLC                )
and PFIZER PFE IRELAND                          )
PHARMACEUTICALS HOLDING 1 B.V.                  )
                                                )
                      Plaintiffs,               )   C.A. No. 16-1305 (RGA)
                                                )   CONSOLIDATED
              v.                                )
                                                )
ALEMBIC PHARMACEUTICALS, LTD.,                  )   REDACTED -
ALEMBIC PHARMACEUTICALS, INC. ,                 )   PUBLIC VERSION
SUN PHARMACEUTICAL INDUSTRIES                   )
LIMITED and SUN PHARMACEUTICAL                  )
INDUSTRIES, INC.,                               )
                                                )
                      Defendants.               )

                PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE
          CERTAIN EXPERT TESTIMONY BY CRAIG W. LINDSLEY, PH.D.

       Plaintiffs Wyeth LLC, Wyeth Pharmaceuticals LLC, PF Prism C.V., Pfizer

Pharmaceuticals LLC and Pfizer PFE Ireland Holding 1 B.V. (collectively “Pfizer”) submit this

motion, pursuant to Local Rule 7.1.2 and Paragraph 10(b) of the Scheduling Order (as amended),

for an order excluding trial testimony by defendants’ expert Craig W. Lindsley, Ph.D. on the

subject of whether Pfizer was diligent in reducing to practice the inventions claimed in U.S.

Patent Nos. 7,417,148 (“’148 patent”) and 7,919,625 (“’625 patent”), two of the three patents

that Pfizer is asserting in this case. The diligence inquiry does not lend itself to the sort of

expert opinion testimony that defendants apparently plan to present through Dr. Lindsley. His

April 24, 2019 expert report does not make clear how his expertise as a medicinal chemist will

assist this Court in understanding the evidence or determining a fact in issue for purposes of



Original Filing Date: August 30, 2019
Redacted Filing Date: September 6, 2019
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deciding whether Pfizer was diligent. Testimony by Dr. Lindsley telling the Court what would

and would not constitute diligence by the inventors would be improper.1

I.     BACKGROUND

       The ’148 patent claims a method of treating or inhibiting the proliferation of chronic

myelogenous leukemia (“CML”) by providing to a patient in need thereof a therapeutically

effective amount of the compound bosutinib, the active ingredient in Pfizer’s Bosulif® product.

The ’625 patent claims a pharmaceutical composition comprising a CML inhibiting amount of

bosutinib.   Both patents claim priority to provisional application No. 60/517,819, filed on

November 6, 2003.

       In challenging the validity of the ’148 and ’625 patents, defendants rely, inter alia, on art

published during the period November 2002-January 2003, i.e., less than one year before the

November 6, 2003 priority date. Those references qualify as prior art under the applicable

version of 35 U.S.C. § 102(a) only if they pre-dated the patentee’s invention.

       At trial, Pfizer expects to demonstrate through the testimony of individuals who worked

on the bosutinib development project that (1) the inventors conceived the inventions claimed in

the ’148 and ’625 patents prior to the publication of the art that defendants rely on under

§ 102(a); and (ii) beginning before the publication of that art and continuing until constructive

reduction to practice of the inventions of the ’148 and ’625 patents on November 6, 2003, Pfizer

diligently worked towards reduction to practice of its claimed inventions. The effort conducted

by Pfizer during the period in question included synthetic chemistry and process development,

formulation development and toxicology testing.        Evidently, based on his experience as a

research scientist at three pharmaceutical companies, Dr. Lindsley plans to testify that he has


1
       Pfizer will not be calling an expert witness at trial to opine on the issue of diligent
reduction to practice.
                                                2
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concluded that Pfizer’s work on bosutinib during the time in question did not in his view qualify

as diligence.2

II.    ARGUMENT

       Motions to preclude evidence are committed to the discretion of the Court which serves

as a gatekeeper to ensure that evidence is relevant and reliable. See Pineda v. Ford Motor Co.,

520 F.3d 237, 243 (3d Cir. 2008). Whether expert testimony is admissible is a question of law

governed by Fed. R. Evid. 702. See Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589-90

(1993). Expert testimony is admissible under Rule 702 only if the expert’s “scientific, technical

or other specialized knowledge will help the trier of fact to understand the evidence or to

determine a fact in issue.” Fed. R. Evid. 702(a).

       According to the Federal Circuit:

                 The diligence requirement implements the principle that, to
                 antedate a reference, the applicant must not only have conceived
                 the invention before the reference date, but must have reasonably
                 continued activity to reduce the invention to practice.

ATI Tech. ULC v. Iancu, 920 F.3d 1362, 1369 (Fed. Cir. 2019). The court explained that the

“principles underlying the law of diligence have long been recognized”:

                 No general standard, by which diligence can be estimated, has
                 been established by the law, nor, in the nature of things, is such a
                 standard possible.      It must be reasonable, under all the
                 circumstances of the particular case in question. The character of
                 the invention; the health, the means, the liberty of the inventor; his
                 occupation upon kindred or subordinate inventions, – are proper
                 subjects for consideration. Such reasonable diligence does not
                 involve uninterrupted effort nor the concentration of his entire
                 energies upon this such enterprise.




2
       Pfizer is not challenging on Daubert grounds testimony by Dr. Lindsley on § 112 issues.
                                                   3
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Id. at 1374. “Whether a patent antedates a reference is a question of law based on subsidiary

findings of fact.” Perfect Surgical Techniques, Inc. v. Olympus Am., Inc., 841 F.3d 1004, 1008

(Fed. Cir. 2016).

       Here, in opposing Pfizer’s effort to establish an invention date earlier than the late 2002

and early 2003 art that defendants are relying on, defendants plan to offer the testimony of Dr.

Lindsley, who received a Ph.D. in chemistry from the University of California, Santa Barbara, in

1996, and has been a professor of pharmacology at Vanderbilt University since 2010. (Lindsley

CV, Exhibit A hereto). Previously, Dr. Lindsley worked as a medicinal chemist at Merck

Research Laboratories, Eli Lilly & Co. and Parke-Davis Pharmaceuticals. (Id.) Dr. Lindsley’s

expert report states that based on his time at those companies, he “understand[s] how timing and

execution of invention disclosures and patent filings are handled in the pharmaceutical industry.”

(Lindsley Opening Rep., Ex. B hereto at ¶¶ 8-11). Dr. Lindsley asserts that having purportedly

“reviewed the evidence that Plaintiffs cite in support of their assertion of diligence,” he is

prepared to opine “that the named inventors did not diligently work to reduce the invention to

practice between either November 16, 2002, and November 6, 2003 or January 15, 2003 and

November 6, 2003.” (Lindsley Opening Rep., Ex. B at ¶¶ 76-82).

       In accordance with Daubert, the Court should bar Dr. Lindsley’s testimony on the

diligence issue because his assessment of the facts, his discussion of industry timelines and his

conclusory determination that there was a lack of diligence on Pfizer’s part will not “help the

trier of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702(a).

The Court is to make the diligence determination here based on the factual record and the

applicable standard articulated by the case law. Dr. Lindsley sheds no light on what would make

him – or anyone for that matter – a “diligence” expert and he does not explain how his personal


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evaluation of Pfizer’s effort would be of any relevance to the Court. Not surprisingly, at his

deposition, Dr. Lindsley acknowledged that he has not studied, taught or published on diligence

in reduction to practice. (Lindsley Dep. Tr., Ex. C hereto at 86-87).

       In sum, this Court is fully capable of hearing the testimony of those who participated in

developing bosutinib, reviewing the underlying documents and determining whether Pfizer

engaged in “reasonably continuous diligence,” Perfect Surgical Techniques, 841 F.3d at 1009,

during the period in question. Opinion testimony by Dr. Lindsley regarding how the Court

should decide the issue would be improper.

III.   CONCLUSION

       Based on the foregoing, Plaintiffs respectfully request that the Court preclude Dr.

Lindsley from providing expert opinion testimony on the issue of diligence in reduction to

practice.

                                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP

OF COUNSEL:                                  /s/ Megan E. Dellinger
Aaron Stiefel                                Jack B. Blumenfeld (#1014)
Daniel P. DiNapoli                           Megan E. Dellinger (#5739)
Stephanie Piper                              1201 North Market Street
Andrew Bledsoe                               P.O. Box 1347
ARNOLD & PORTER KAYE SCHOLER LLP             Wilmington, DE 19899
250 West 55th Street                         (302) 658-9200
New York, NY 10019-9710                      jblumenfeld@mnat.com
(212) 836-8000                               mdellinger@mnat.com

Soumitra Deka                                Attorneys for Plaintiffs
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(415) 471-3100

Attorneys for Plaintiffs

August 30, 2019


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                                RULE 7.1.1 CERTIFICATE

      Pursuant to D. Del. LR 7.1.1, I hereby certify that the subject of the foregoing motion has

been discussed with counsel for Defendants and that the parties have been unable to reach

agreement.




                                           /s/ Megan E. Dellinger
                                           Megan E. Dellinger (#5739)
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                          EXHIBIT A
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                                    Dr. Craig W. Lindsley
Home Address:                                                          Laboratory Address:
                                                                       Department of Pharmacology
                                                                       MRBIV (Langford), 12415D
                                                                       Vanderbilt Medical Center
                                                                       Nashville, TN 37232-6600

E-mail: craig.lindsley@vanderbilt.edu; phone (office): 615-322-8700
Web site: www.lindsleylab.com
Citizenship: US
Marital status:

Education:

   1997 – 1999             Postdoctoral Fellow, Harvard University, Cambridge, MA

   1992 - 1996             Ph.D., University of California, Santa Barbara, Santa Barbara, CA

   1988 - 1992             B.S., Chemistry, California State University, Chico, Chico, CA

Academic Appointments and Research Experience:

   01/2011-present         Professor of Pharmacology (with tenure), Professor of Chemistry;
                           Co-Director, Vanderbilt Center for Neuroscience Drug Discovery;
                           Director of Medicinal Chemistry, Vanderbilt Center for Neuroscience
                           Drug Discovery (formerly Vanderbilt Program in Drug Discovery);
                           Director of Drug Discovery, Human Chemical Sciences Institute
                           (Scripps-Vanderbilt); PI, Vanderbilt MLPCN Specialized Chemistry
                           Center; Editor-in-Chief, ACS Chemical Neuroscience
                           Member, Vanderbilt Institute of Chemical Biology
                           Vanderbilt University School of Medicine, Vanderbilt University
                           (Medicinal Chemistry, Drug Discovery, Total Synthesis, Chemical Biology)

   04/2010-present         Professor of Pharmacology (with tenure), Professor of Chemistry;
                           Director of Medicinal Chemistry, Vanderbilt Program in Drug
                           Discovery; PI, Vanderbilt MLPCN Specialized Chemistry Center;
                           Editor-in-Chief, ACS Chemical Neuroscience
                           Member, Vanderbilt Institute of Chemical Biology
                           Vanderbilt University School of Medicine, Vanderbilt University
                           (Medicinal Chemistry, Drug Discovery, Total Synthesis, Chemical Biology)

   05/08-04/2010           Associate Professor of Pharmacology (with tenure), Associate Professor
                           of Chemistry; Director of Medicinal Chemistry, Vanderbilt Program in
                           Drug Discovery; PI, Vanderbilt MLPCN Specialized Chemistry Center;
                           Co-Director, VICB Synthesis Facility, Editor-in-Chief, ACS Chemical
                           Neuroscience
                           Member, Vanderbilt Institute of Chemical Biology
                           Vanderbilt University School of Medicine, Vanderbilt University
                           (Medicinal Chemistry, Drug Discovery, Total Synthesis, Chemical Biology)

   09/06 – 05/08           Associate Professor of Pharmacology, Associate Professor of Chemistry;
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Dr. Craig W. Lindsley
                        Director of Medicinal Chemistry, Vanderbilt Program in Drug Discovery;
                        Director, Vanderbilt MLSCN Chemistry Molecular Probe Center;
                        Co-Director, VICB Synthesis Facility
                        Member, Vanderbilt Institute of Chemical Biology
                        Vanderbilt University School of Medicine, Vanderbilt University
                        (Medicinal Chemistry, Drug Discovery, Total Synthesis, Chemical Biology)

   07/05-09/06          Senior Research Fellow/Group Leader
                        (Medicinal Chemistry Department)
                        Merck Research Laboratories, Merck & Co., West Point, PA
                        Supervise a group of 19 Ph.D. and B.S./M.S. scientists
                        (Neuroscience, Antiviral, Cardiovascular, Cancer, Small Molecule PPIs)

   08/02-07/05          Research Fellow/Group Leader
                        (Medicinal Chemistry Department)
                        Merck Research Laboratories, Merck & Co., West Point, PA
                        (Cancer, Neuroscience,Antiviral)

   06/01-08/02          Senior Research Chemist/Group Leader
                        (Medicinal Chemistry Department)
                        Merck Research Laboratories, Merck & Co., West Point, PA
                        (Cancer, Neuroscience, Antiviral)

   05/00-6/01           Senior Organic Chemist (Chemistry Research Technologies)
                        Eli Lilly & Co., Indianapolis, IN
                        Lead Discovery (H3 antagonists, MC4 agonists)

   04/99-05/00          Senior Scientist (Medicinal Chemistry)
                        Parke-Davis Pharmaceuticals, Ann Arbor, MI
                        Anti-Viral (HIV), Anti-Bacterial, SERM and Rasta resin research.

   05/97-04/99          Postdoctoral Research with Professor Matthew D. Shair
                        Harvard Institute of Chemistry and Cell Biology (ICCB)/Department of
                        Chemistry & Chemical Biology; Harvard University, Cambridge, MA
                        Biomimetic Solid Phase Synthesis of Benzoxanthenone Unnatural Products
                        Novel Organometallic and Solid Phase Methodologies.

   06/92-11/96          Graduate Research with Professor Bruce Lipshutz,
                        University of California, Santa Barbara, Santa Barbara, CA
                        Organometallic Methodology, Novel Bi-Directional Polyene Linchpins for
                        All-E Polyene Synthesis, Development of New Protecting Groups.

   06/91-05/92          Undergraduate Research with Professor David Ball,
                        California State University, Chico, Chico, CA
                        Progress Towards the Total Synthesis of Borrellidin.

   Summer 1991          NSF Summer Undergraduate Research Fellowship with Professor
                        Phillip Cruz
                        University of California, Santa Cruz, Santa Cruz, CA
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 Dr. Craig W. Lindsley
                            Isolation, Purification and Characterization of Secondary Sponge
                            Metabolites.

 Teaching Experience

 Fall 2006 – present        Professor of Pharmacology & Chemistry
                            Vanderbilt University Medical Center/Vanderbilt University
                            Pharm 327 Modern Drug Discovery
                            Chem 324 Heterocyclic Chemistry
                            IGP 300B: Small Molecule Design for Biologists

 Fall 2004                  Adjunct Faculty
                            Villanova University
                            Chem 398 Graduate Course on Medicinal/Combinatorial Chemistry

 2000-2001                  Part-time Instructor/Lecturer
                            Indiana University/Purdue University at Indianapolis (IUPUI)
                            General and Organic Chemistry lectures and laboratory

 1992-1996                  Graduate Teaching Assistant
                            University of California, Santa Barbara
                            Organic Laboratory, Honors Organic lab, NMR lab

 Professional Organizations:

 •   American Chemical Society (1991-present)
 •   American Society of Pharmacology and Experimental Therapeutics (2009-present)

 Professional Activities:

 Intramural:

 Thesis Committees:
 J. Phillip Kennedy         Chemistry                                  2007-2010, Chair
 R. Nathan Daniels          Chemistry                                  2007-2010, Chair
 Sameer Sharma              Chemical & Physical Biology                2007-2009, Member
 Leslie Aldrich             Chemistry                                  2008-present, Chair
 Olgubeminiyi Fadeyi        Chemistry                                  2008-present, Chair
 Michael Schulte            Chemistry                                  2009-present, Chair
 Gordon Lemmon              Chemical & Physical Biology                2008-present, Chair
 Paige Selvey               Pharmacology                               2007-present, Chair
 Sydney Stoops              Pharmacology                               2008-present, Member
 Nicole Miller              Pharmacology                               2008-2010, Member
 Jonathan Hemphill          Chemistry                                  2008-present, Member
 Sean Deguire               Chemistry                                  2008-present, Member
 Evan Lebois                Pharmacology                               2008-2010, Member
 Thomas Bridges             Pharmacology                               2007-2010, Member
 Steve Townsend             Chemistry                                  2007-present, Member
 Robert Lavieri             Pharmacology                               2007-present, Member
 Uyen Le                    Chemical & Physical Biology                2009-present, Member
 John Brogan                Chemical & Physical Biology                2009-present, Member
 Matthew O’Reilly           Chemistry                                  2010-present, Chair
 Kris Hahn                  Chemistry                                  2010-present, Chair
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 Dr. Craig W. Lindsley

 Tim Senter                 Chemistry                                   2010-present, Chair
 Josh Bruner                Chemistry                                   2011-present, Chair


 Extramural:

 NIH, grant reviewer and/or ad hoc on 8 NIH panels including Synthetic Chemistry and Biology A.
 Standing member of NIH Drug Discovery Review Panel.

 Reviewer for: Organic Letters, Journal of Organic Chemistry, Journal of Medicinal Chemistry, Journal
 of the American Chemical Society, Bioorganic and Medicinal Chemistry Letters and Current Topics in
 Medicinal Chemistry

 Medicinal Chemistry Consultant for: Amgen, Abbott, Eisai, Michael J Fox Foundation

 Co-Chair, Chemistry Coordination Committee, MLPCN (2007-present)

 Editorial Positions:

 •   Editor-in-Chief, ACS Chemical Neuroscience – 2009-onward
 •   Associate Editor, Current Topics in Medicinal Chemistry – 2007-2009.
 •   Editorial Advisory Boards: Journal of Combinatorial Chemistry, Current Topics in Medicinal
     Chemistry, International Journal of High-Throughput Screening, International Journal of Drug
     Design & Discovery.
 •   Guest Editor, Curr. Top. Med. Chem., issue on Small Molecule Protein-Protein Inhibitors (2006/2007)
 •   Guest Editor, Curr. Top. Med. Chem., issue on Metabotropic Glutamate Receptors (2004/2005)


 Review Positions, Advisory Boards and Honors:

 •   Vanderbilt Leadership of a Multi-Investigator Team Award for Two or More Faculty Working
     Collaboratively or in a Multidisciplinary Manner to Address Important Biological Processes and/or
     Diseases, 2011.
 •   ‘Most Cited Article 2003-2010’ Bioorg. Med. Chem. Lett. (ref. 26)
 •   Top 50 ‘Most Cited Articles 2003-2010’ Bioorg. Med. Chem. Lett. (ref. 40)
 •   Invited Instructor, Drew University Medicinal Chemistry Short Course, 2010-onward
 •   ASPET-Astellas Award for Translational Pharmacology, 2010
 •   Organizer, Keystone Symposia on ‘Early Stage Drug Discovery’, 2011.
 •   Faculty of 1000 Biology
 •   Thomson Reuters Essential Science IndicatorsSM Hot New Paper, Most Cited in Field of
     Pharmacology 2008/2009 (Review ref. 28)
 •   6th Most Accessed and Downloaded Manuscript in 2009, ChemMedChem (ref. 70)
 •   Co-Chair, Allosteric Modulator Session (MEDI), ACS 238th National Meeting 2009.
 •   Most Read and Cited Article 2008, Journal of Combinatorial Chemistry (Review ref. 23)
 •   Most Read and Cited Article 2008, ACS Chemical Biology (Review ref. 27)
 •   Abbott - medicinal chemistry consultant, 2010-onward
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 Dr. Craig W. Lindsley

 •   Eisai - medicinal chemistry consultant, 2008-onward
 •   Amgen – medicinal chemistry consultant, 2007-onward
 •   Reuter’s – medicinal chemistry consultant, 2007-onward
 •   Most Cited Paper 2005-2008 Award, Bioorg. Med. Chem. Lett. (reference 27).
 •   Assessor – Michael J. Fox Foundation for Parkinson’s Research, 2006-onward
 •   Scientific Advisory Board Member. NIH Chemical Genomics Center, 2004-onward
 •   NIH SEP Pilot Library Grant Review Committee – 2005-2007
 •   Innovator/key contributer to six MERCK preclinical candidates: MK-7816 (insomnia), MK-2637
     (schizophrenia), MK-1832 (atrial fibrillation), MK-6673 (oncology), MK-2206 (oncology) and
     [18F]MK-6577 (schizophrenia tracer).
 •   Early Development Team (EDT) Chemistry Representative MK-2637
 •   Merck Research Labs (MRL) Chemistry Representative: Schizophrenia and Neuroscience Target
     Area Group (TAGs)
 •   Most Cited Paper 2003-2006 Award, Bioorg. Med. Chem. Lett. (reference 26).
 •   3rd most downloaded and 2nd most cited manuscript in 2005, Bioorg. Med.Chem.Lett. (reference 26)
 •   Top 25 most downloaded manuscripts in 2005, Bioorg. Med.Chem.Lett. (reference 27)
 •   Merck Research Labs (MRL) Quarterly Stock Grant Award: 1Q2005, 4Q2005, 1Q2006 (2)
 •   LHS Alumni Hall of Honor Inductee, 2005
 •   TES lead optimization paradigm featured in Genetic Engineering News, Vol. 25(14), 2005
 •   Aldrich commercialized our Rasta resins utilizing our MAOS protocol – 2005
 •   Our MAOS research featured in C&E NEWS, Vol. 82 (50), Exclusive Online – 2004
 •   Advisory Board Member. World Pharmaceutical Congress - ‘Hit-to-Lead: Streamlining Lead
     Generation to Enhance Downstream Success’ Conference, 2004
 •   Merck Award for Excellence, Merck Research Laboratories, 2002, 2005, 2006 (3)
 •   ‘Change the World’ Award, Eli Lilly & Co., 2001
 •   Parke-Davis/University of Michigan Mentor/Instructor, 1999-2000
 •   Harvard Institute of Chemistry and Cell Biology Postdoctoral Fellowship Recipient, 1997-1999
 •   Robert H. DeWolfe Award for Excellence in Undergraduate Instruction, UCSB, 1995-1996
 •   Outstanding Graduating Senior in Chemistry, CSUC, 1992
 •   American Institute of Chemists Award for Outstanding Senior in Chemistry, CSUC, 1992
 •   President, Student Affiliates of the American Chemical Society, CSUC chapter, 1991-1992
 •   NSF Summer Undergraduate Research Fellowship Recipient, 1991


 STUDENTS SUPERVISED:
 Over 20 rotation students (Pharmacology, Chemistry and CPB)
 J. Phillip Kennedy - Chemistry Graduate Student (2006-2010); currently postdoc in Fesik lab
 R. Nathan Daniels - Chemistry Graduate Student (2006-2010); currently postdoc in Fesik lab
 Olgubeminiyi Fadeyi - Chemistry Graduate Student
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 Dr. Craig W. Lindsley
 Michael Schulte - Chemistry Graduate Student
 Leslie Aldrich - Chemistry Graduate Student
 Syndey Stoops - Pharmacology Graduate Student
 Thomas Bridges - Pharmacology Graduate Student (2006-2010); currently postdoc in Daniels lab
 Evan Lebois - Pharmacology Graduate Student (2008-2010); currently in Emory Ph.D. program
 Robert Lavieri - Pharmacology Graduate Student
 Sameer Sharma – CPB Graduate Student (2007-2009); currently in VU MBA Program
 Uyen Le – Chemical and Physical Biology Graduate Student
 John Brogan - Chemical and Physical Biology Graduate Student
 Patirck Gentry - Chemical and Physical Biology Graduate Student
 Tim Senter - Chemistry Graduate Student
 Kris Hahn - Chemistry Graduate Student

 Supervised over 12 Vanderbilt Chemistry Undergraduate Researchers

 POSTDOCTORAL FELLOWS SUPERVISED:
 Jana Lewis (2007-2009); currently Sr. Scientist at Living Proof, Inc.
 Jason Buck (2007-2008); currently postdoc in VU Imaging Center
 Ya Zhou (2007-2009); currently staff scientist in VCNDD
 Dustin Haddenham (2010- 2011); currently, Scientists at Boehringer-Ingelheim (Process Chemistry)
 Chris Tarr (2010- )
 Steven Townsend (2010-)
 Margie Mattmann (2011- )

 VPDD/MLPCN STAFF SCIENTISTS SUPERVISED: 10 Ph.D.s, 18 B.S./M.S.

 MERCK: Supervised a group of 20 Medicinal Chemists (4 Ph.D.s, 16 B.S./M.S.)

 Funding (Grants):
 Active
 •   VU Therapeutic Discovery Grant ‘mGluR4 PAMs for Parkinson’s Disease’ ($4.5 million), co-PI,
     01/01/2007-02/28/2010, 0% effort.
 •   Michael J. Fox Foundation LEAPS Award ‘mGluR4 PAMs for PD’ ($4.4 million), co-PI, 01/01/2008
     -12/31/2011, 10% effort.
 •   1RO1MH082867-01 ‘Sel. M1 mAChR Allost. Mod. for Schizophrenia’ ($1.12 million), PI,
     05/20/2008-04/30/2013, 18% effort.
 •   1RO1DA023947-01 ‘Partial Antag. of mGluR5 for the Treatment of Cocaine Addiction ($1.36
     million), PI, 06/01/2008-05/31/2013, 20% effort.
 •   1U54MH084659-01 ’Vanderbilt Spec. Chem. Center for Accel. Probe Dev.’ ($25.9 million), PI,
     09/01/2008-05/31/2014, 25% effort.
 •   1U01MH087965-01 ’Vanderbilt NCDDDG for Discovery of Novel Treatments for Schizophrenia’
     ($11.3 million), co-PI, 12/01/2009-11/30/2014, 15% effort.
 •   1U54MH084659-S01 ’Design and synthesis of libraries of small molecule protein-protein inhibitors’
     ($1 million), PI, 06/01/2010 – 05/31/2012, no effort.
 •   1U54MH084659-S02 ’DMPK Profiling and Optimization of MLPCN Probes’($1 million), PI,
     06/01/2010 – 05/31/2012, no effort.
 •   McDonnell Foundation, VUMC220020246 ‘PLD Inhibitors for the Treatment of Cancer’($150K), co-
     PI, 08/01/2010 – 07/31/2011, no effort.

 Funding (Corporate Partnerships):
 •   VUMC33842, Seaside Therapeutics ‘mGluR5 Partial Antagonists for the Treatment of FXS’ ($4.5
     million), co-PI, 12/01/2007-6/31/2011, 1% effort.
 •   VUMC34998, Johnson & Johnson ‘mGluR5 Positive Allosteric Modulators for Schizophrenia’ ($11
     million), co-PI, 12/01/2008-12/31/2011, 1% effort.
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 Dr. Craig W. Lindsley
 •    VUMC36176, Seaside Therapeutics ‘M1 Antagonists for the Treatment of FXS’ ($5.0 million), co-
      PI, 01/01/2010-12/31/2012, 1% effort.


 Completed
 •    Alzheimer Association IIRG-07-57131 ‘Novel Muscarinic Therapeutics for AD’ ($239 K), PI.
 •    VICB Pilot Project Grant ‘M1 PAMs for Alzheimer’s Disease’ ($45K), PI
 •    VICB Pilot Project Grant ‘GLP-1 PAMs for Diabetes’ ($45K), co-PI
 •    ACS-IRG ‘Allosteric Akt and PDK1 inhibitors’ ($20K), PI
 •    3U54 MH074427-02S1, NIH/MLSCN Chemistry Core Supplement ($500K), PI
 •    Vanderbilt UCDPG Infrastructure Grant ‘Preparative Chiral HPLC’ ($174,600), co-PI

 Bilbiometrics (based on Web of Knowledge Database)
 • Total citations (1994-2010): 2,874
 •    Average citations per manuscript: 15.3; Average citations per year: 159.7
 •    h-index: 29

 Publications:

 In Preparation


 14. Noetzel, M.J.; Rook, J.M.; Vinson, P.N.; Cho, K.P.; Days, E.; Zhou, Y.; Rodriguez, A.L.;
     Lavreysen, H.; Stauffer, S.R.; Niswender, C.M.; Xiang, Z.; Daniels, J.S.; Lindsley, C.W.; Weaver,
     C.D.; Conn, P.J. ‘Positive allosteric modulators of the metabotropic glutamate receptor subtype 5
     have in vivo activity independent of their pharmacological classification’ Mol. Pharm., in
     preparation.

 13. Digby, G.J.; Walker, A.G.; LeBois, E.P.; Utley, T.J.; Xiang, Z.; Miller, N.R.; Plumley, H.C.; Davis,
     A.A.; Morrison, R.; Daniels, S.; Lindsley, C.W.; Conn, P.J. ‘Discovery and characterization of
     VU0364572, A CNS-penetrant M1-selectiver partial agonist that increases activity in medium spiny
     neurons and hippocampus’ Nat. Chem. Bio., in preparation.

 12. Selvy, P.E.; Lindsley, C.W.; Bornhop, D.A.; Brown, H.A. ‘Novel bimodal mechanism of small
     molecule inhibition of lipid signaling’ Nature, in preparation.

 11. O’Reilly, M.C.; Lindsley, C.W. ‘Enantioselective synthesis of protected morpholines’ Org. Lett., in
     preparation

 10. Schulte, M.L.; Fadeyi, O.O.; Lindsley, C.W. ‘Highly diasteroselective and general synthesis of
     primary β-fluoroamines’ Org. Lett., in preparation.

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 72. Lindsley, C.W. ‘Challenges in the development of mGluR allosteric ligands: Medicinal chemistry
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 69. Pawluczyk, J.M.; McClain, R.T.; Mulhearn, J.J., Jr.; Rudd, D.J.; Denicola, C.; Lindsley, C.W.
     ‘Microwave initiated living free radical polymerization: Optimization of the preparative scale
     synthesis of Rasta resins. 236th ACS National Meeting, Philadelphia, PA, August 17-21, 2008.

 68. Lindsley, C.W. ‘Discovery of Centrally Active M1 and M4 Positive Allosteric Modualtors’ Gordon

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      Speaker).

 67. Lindsley, C.W. ‘Development of allosteric ligands of Class A and Class C GPCRs Boston
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 Dr. Craig W. Lindsley
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     to Alzheimer’s disease and schizophrenia’ ACS-EFMC Frontiers in CNS and Oncology Medicinal
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 47. Lindsley, C.W. ‘Natural Product Guided Synthesis: Total Synthesis, Molecular Editing and Biological
     Evaluation of Natural Products’ ICCA X, Nashville, TN, August 12-15, 2007 (invited speaker).

 46. Williams, R.; Jones, C.; Brady, A.; Conn, P.J.; Lindsley, C.W. ‘Development of M1 muscarinic modulators’
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 Dr. Craig W. Lindsley

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     analytical support for high-throughput medicinal chemistry’ High Performance Liquid Phase
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     purification and post purification support in a high throughput synthesis group’ Prep 19th International
     Symposium, Baltimore, Maryland, May 14-17, 2006.

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     rearrangement’ Cambridge Health Institute: Chemistry Enabled Drug Design Meeting, San Diego, CA
     April 23-26, 2006.

 33. Yang, F.V.; Shipe, W.D.; Lindsley, C.W. ‘General microwave-assisted protocol for the expedient
     synthesis of quinoxalinones’ Microwaves In Chemistry 4th International Conference, Orlando, FL.
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 32. Wisnoski, D.D.; Lindsley, C.W.; Williams Jr., D.L.; Sur, C. ‘Discovery and development of the first
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 31. Lindsley, C.W. ‘Lead optimization driven by iterative analogue library synthesis: development of
     of novel allosteric Akt kinase inhibitors’ Gordon Research Conference on Combinatorial Chemistry,
     Andover, NH, August 21-26, 2005 (invited speaker).

 30. Lindsley, C.W. ‘Hit-to-Lead-to-Proof of Concept: Akt kinase inhibitors and mGluR5 positive allosteric
     modulators’ World Pharmaceutical Congress - Hit-to-Lead: Streamling Lead Generation to Enhance
     Downstream Success, Philadelphia, PA May 24-25, 2005 (invited speaker).

 29. Lindsley, C.W. ‘Discovery and development of the first centrally active mGluR5 positive allosteric
     modulators’ ACS Mid-Atlantic Regional Meeting, Rutgers University, New Brunswick, NJ, May 23, 2005
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 28. Lindsley, C.W. ‘Technology Enabled Synthesis: A new paradigm for lead optimization’ ACS
     ProSpectives on Medicnal Chemistry, Boston, MA, May 15-18, 2005 (invited speaker).

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     libraries as isoyzme selective Akt inhibitors’ ACS ProSpectives on Medicnal Chemistry, Boston,
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 26. Lindsley, C.W. ‘Technology enhanced medicinal chemistry: development of allosteric Akt
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 Dr. Craig W. Lindsley
     kinase inhibitors’ The Royal Society of Chemistry – High Throughput Medicinal Chemistry,
     London, UK, May 10, 2005 (invited speaker).

 25. Lindsley, C.W. ‘Technology Enabled Synthesis: application to the development of the first
     centrally active mGluR5 positive allosteric modulators’ Vanderbilt Institute of Chemical Biology
     Nashville, TN, February 9, 2005 (invited speaker).

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     K.R.; Lindsley, C.W.; Robinson, R.G.; Zhao, Z.J. ‘Akt inhibitors as chemosensitizers’ Nature
     Biotechnology 2005 Winter Symposium, Miami, FL, February 5-9, 2005.

 23. Lindsley, C.W. ‘Application of microwave-assisted organic synthesis (MAOS) for lead
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     post-purification sample handling in a high-throughput medicnal chemistry group’
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     ‘Microwave-assisted organic synthesis of quinoxaline and 5,6-diphenylpyrazin-2(1H)-one libraries
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     Jones, R.E.; Kral, A.M.; Lindsley, C.W.; Manley, P.J.; Robinson, R.G.; Smith, A.M.’Development
     of diaryl-naphthyridine inhibitors of Akt kinase’ American Chemical Society 228th National Meeting,
     Philadelphia, Pennsylvania, August 22-28, 2004.

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     stimuli by selective inhibition of specific Akt/PKB family members’Gordon Research Conference on
     Cancer Models and Mechanisms, Salve Regina University, New Port, RI, August 1-6, 2004.

 17. Lindsley, C.W. ‘Development pleckstrin homology domain dependent and isozyme selective Akt
     kinase inhibitors’ Gordon Research Conference on Medicinal Chemistry, New London, NH, August
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 16. Defeo-Jones, D.; Barnett, S.F.; Hancock, P.J.; Haskell, K.M.; Leander, K.R.; Fu, S.; Robinson, R.G.;
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     stimuli by selective inhibition of specific Akt/PKB family members’ Anti-Cancer Drug Discovery and
     Development, 6th Annual Summit, Philadelphia, PA July 21-23, 2004.

 15. Leister, W.H.; Lindsley, C.W. ‘Complete high throughput analytical support for drug discovery: from
     customization of a preparative liquid chromatograph/mass spectrometer to plating samples for screening’
     World Pharmaceutical Congress - Hit-to-Lead: Streamling Lead Generation to Enhance Downstream
     Success, Philadelphia, PA May 18-19, 2004.

 14. Lindsley, C.W. ‘The challenges of establishing an effective lead discovery and development group’
     World Pharmaceutical Congress - Hit-to-Lead: Streamling Lead Generation to Enhance Downstream
     Success, Philadelphia, PA May 18-19, 2004 (invited speaker).

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     ‘Application of enabling technologies to expedite drug discovery’ Advances in Synthetic, Combinatorial
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 12. Lindsley, C.W. ‘Technology enhanced medicinal chemistry’ CHI’s Molecular Medicine Triconference:
     Mastering Medicinal Chemistry, San Francisco, CA March 26, 2004 (invited speaker).
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 11. Lindsley, C.W. ‘Target and diversity-oriented organic synthesis employing microwave
     technology’ 2nd International Microwaves in Chemistry Conference, Orlando, FL, March 5,
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 10. Williams, D.L., O’Brien, J. A., Lemaire, W., Wittmann, M., Chen, T., Chang, R.S.L., Jacobson,
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     for Neuroscience, New Orleans, LA, November 8-12, 2003.


 9.    Lindsley, C.W. ‘Methodology and tools to expedite the synthesis and purification of analog
       libraries’ 35th ACS Central Regional Meeting, Pittsburgh, PA, October 22, 2003 (invited speaker).

 8.    Lindsley, C.W. ‘Microwave-assisted organic synthesis: A powerful approach for small molecule
       construction and the expedient development of new materials’ Mid-Atlantic Fall Symposium on
       Microwave-Assisted Organic Synthesis, Iselin, NJ, October 16, 2003 (invited speaker).

 7.    Lindsley, C.W. ‘Technology enhanced medicinal chemistry – practical tools to accelerate lead
       discovery and development’ Presented at Meeting the Challenges of Modern Medicinal Chemistry
       East Brunswick, NJ, October 2, 2003 (invited speaker).

 6.    Lindsley, C.W. ‘Microwave-mediated synthesis: A powerful approach for small molecule
       construction and the expedient development of new materials’ Mid-Atlantic Symposium on
       Microwave-Assisted Organic Synthesis, King of Prussia, PA, June 19, 2003 (invited speaker).

 5.    Williams, D.L. Jr.; O’Brien, J.A; Lemaire, W. Chen, T.B. Chang, R.S.L.; Jacobson, M.A., Ha, S.N.;
       Wisnoski, D. D.; Lindsley, C. W.; Sur, C.; Duggan, M.E.; Pettibone, D.J.; Conn, P. J. ‘Difference
       in mGluR5 interaction between positive allosteric modulators from two structural classes’
       New York Academy of Sciences Meeting on Glutamate and Disorders of Cognition and Motivation,
       New Haven CT, 13-15 April 2003.

 4.    Lindsley, C.W. ‘Fluorous technology for solution phase parallel synthesis’ University
       of Pittsburgh, Departmental Seminar, Pittsburgh, PA, September 17, 2002 (invited speaker).

 3.    Lindsley, C. W. ‘West Point’s Technology Enabled Synthesis (TES) group: A targeted library approach
       to chemical lead development for nascent programs’ Merck Chemistry Council Medicinal Chemistry
       Conference, La Sapiniere Resort, Val David, Quebec, Canada, June 15-19, 2002.

 2.    Lindsley, C. W. ‘Biomimetic solid-phase synthesis of benzoxanthenone unnatural products’,
       University of California, Santa Barbara, Departmental Seminar, Santa Barbara, CA, November
       17, 1998 (invited speaker).

 1. Lindsley, C. W. ‘Novel bi-directional organometallic linchpins for all-E polyene synthesis’,
    Chemistry Alumni Research Symposium (CARS), California State University, Chico, Chico,
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 References

      Prof. Matthew D. Shair              Prof. Bruce Lipshutz            Prof. Stuart Schreiber
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                           EXHIBIT B
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 WYETH LLC, WYETH                      )
 PHARMACEUTICALS LLC, PF PRISM         )
 C.V., PFIZER PHARMACEUTICALS LLC,     )
 and PFIZER PFE IRELAND                )
 PHARMACEUTICALS HOLDING 1 B.V.        )
                                       )
                   Plaintiffs,         )
                                       )
             v.                        )       C.A. No. 16-1305 (RGA)
                                       )         CONSOLIDATED
 ALEMBIC PHARMACEUTICALS, LTD.,        )
 ALEMBIC PHARMACEUTICALS, INC. ,       )
 SUN PHARMACEUTICAL INDUSTRIES         )         PUBLIC VERSION
 LIMITED and SUN PHARMACEUTICAL        )
 INDUSTRIES, INC.,                     )
                                       )
                  Defendants.          )




           OPENING EXPERT REPORT OF CRAIG W. LINDSLEY, PH.D.
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 I.     INTRODUCTION

        1.      I, Craig W. Lindsley, Ph.D., submit this expert report on behalf of Defendants

 Alembic Pharmaceuticals, Ltd., Alembic Pharmaceuticals, Inc., Sun Pharmaceuticals Industries

 Limited and Sun Pharmaceutical Industries, Inc. (“Defendants”) in the above-captioned litigation

 brought by Wyeth LLC, Wyeth Pharmaceuticals Inc., PF Prism C.V., Pfizer Pharmaceuticals

 LLC, and Pfizer PFE Ireland Pharmaceuticals Holding 1 B.V. (“Plaintiffs”).

        2.      In particular, I have been asked to provide a statement of my opinions based on

 my experience, education, training, knowledge of the literature, and materials reviewed, relating

 to U.S. Patent Nos. 7,417,148 (“the ’148 patent”) and 7,919,625 (“the ’625 patent”), and.

 7,767,678 (“the ’678 patent”). Specifically, I have been asked to set forth technical opinions

 which I have been informed pertain to the validity of Claim 7 of the ’148 patent,,Claim 1 of the

 ’625 patent,2 and Claim 12 of the ’678 patent (collectively, “the Asserted Claims”).

        3.      In addition, if asked, I may respond to the opinions and testimony of Plaintiffs’

 witnesses regarding issues within my area of expertise.

        4.      In forming my opinions and preparing this report, I reviewed and considered the

 materials cited in this report and the materials listed in Exhibit A to this report. I have also relied

 upon my knowledge, education, and training as described below and in my curriculum vitae,

 attached to this report as Exhibit B.

 II.    QUALIFICATIONS AND EXPERIENCE

        5.      I am currently one of only five University Professors at Vanderbilt, with tenure

across the School of Medicine and the School of Arts and Sciences. I am also the William K.




 2
  Claim 1 of the ’625 patent is only asserted against the Sun defendants, not the Alembic
 defendants.
                                                   1
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Warren, Jr. Chair in Medicine. At Vanderbilt, I am engaged in drug discovery, and have licensed

fifteen projects to pharmaceutical partners.

        6.      I received my Ph.D. in Chemistry in 1996 from the University of California, Santa

 Barbara. Thereafter, I worked in the pharmaceutical industry as a medicinal chemist during the

 1999-2006 time period in both oncology and neuroscience, during which I developed six drug

 candidates. At Parke-Davis, I worked on oncology programs directed at serine/threonine kinase

 proteins, and the preparation of new rasta resins to expedite compound synthesis. I then moved

 to Eli Lilly, and worked on a number of CNS programs targeting agonists and antagonists of G-

 protein coupled receptors (“GPCRs”). I was then recruited to Merck to lead a new effort in their

 medicinal chemistry department.

        7.      While at Merck, I worked on a number of kinase programs, and I became very

 familiar with chronic myelogenous leukemia (“CML”) and kinase inhibitors (both ATP-

 competitive and allosteric). In particular, I developed the first allosteric Akt kinase inhibitors

 that enabled isoform specificity between Akt1, Akt2 and Akt3, and delivered key tool

 compounds as well as MK-2206. I also worked on IGF-1R, a tyrosine receptor kinase, and dealt

 with selectivity challenges of the highly homologous insulin receptor (IR) and the IGF-1R/IR

 heterodimer, and other kinase programs, such as Chk-1. Also while at Merck, I co-developed the

 field of GPCR allosteric modulators, delivering the first PAMs of M1 and mGlu5, showing

 unprecedented selectivity and critical target validation.

        8.      Moreover, from my time at three different pharmaceutical companies (and having

 participated in the filing of patent applications at all three, including dozens at Merck), I

 understand how timing and execution of invention disclosures and patent filings are handled in

 the pharmaceutical industry. It was the industry standard during my time, from 1999 to 2006, to



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 file patent applications early to ensure ownership of new chemical matter and methods of

 treatment. The general rule was that there could be no public disclosure of compounds or new

 pharmacological concepts in poster, oral or manuscript form, unless a patent application had

 been filed prior to disclosure. Every drug development program included a representative from

 the patent department, and we routinely held meetings to discuss the IP landscape and decide the

 content and timing of new applications; any disclosure – abstract, manuscript, slides, etc. – were

 sent to the project-assigned attorney for approval prior to any disclosure. At all three

 organizations, scientists were required to have completed lab notebook pages counter-signed and

 witnessed within 30 days of closing out an experiment, as the countersigned date was considered

 the date of conception for patent application purposes.

        9.      At all three companies, we would typically have 18 to 24 months from initiation

 of an oncology project to declaring a preclinical development candidate. The clock was started

 when we found a “hit”—a small molecule with favorable activity as measured through a

 predetermined screening assay or through reviewing the literature. We had hard milestones and

 deliverables. We had to move through hit-to-lead and initiate full lead optimization within 6

 months. This involved a series of tests to determine tractable structure-activity relationships

 (“SAR”), robust chemistry, strong in vitro data (biochemical and cellular) and good rodent

 pharmacokinetics (“PK”). We also conducted patent searches to confirm we were in a chemical

 space with freedom to operate. Only after all this was done would we begin drafting patent

 applications. During this time, there would be no external disclosures of any kind related to the

 project. We would always file the patent application in early lead optimization (“LO”), as we

 had 12 months to add new examples, and the project would deliver a candidate or be terminated

 by that time. In LO, the team received more resources, and iterative med chem, biochemistry,



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 drug metabolism and pharmacokinetics (“DMPK”) and in vivo efficacy studies accelerated, such

 that typically 2,000 or more compounds were synthesized and evaluated en route to candidate

 selection. As we narrowed the field of potential drug candidates to one (with low predicted

 efficacious human plasma levels), we would file a second provisional application to claim the

 particular key compound. Late stage multi-species in vitro and in vivo PK studies would be

 completed, along with tumor xenograft studies, in vitro/in vivo toxicology studies, and dose

 escalation studies with various formulations of the lead drug candidate. A ‘package’ would be

 presented to management for approval, and if approved, we would initiate studies to enable an

 investigational new drug (“IND”) application. Based on a variety of factors, a back-up program

 may or may not be launched for the target. If not, the team was reassigned to another cancer

 program, and the entire process began again.

        10.       After Merck, I joined Vanderbilt in 2006 as an Associate Professor and Director

of Medicinal Chemistry and Drug Metabolism and Pharmacokinetics (“DMPK”) for the

Vanderbilt Center for Neuroscience Drug Discovery (“VCNDD”). I was quickly promoted to

Full Professor, and in 2018, University Professor. During my 13 years thus far at Vanderbilt, I

have received numerous awards for excellence in medicinal chemistry/drug discovery, served as

founding Editor-in-Chief of ACS Chemical Neuroscience, been named one of the World’s Most

Influential Minds, and routinely appear on the most cited researcher lists. I also follow the same

guidelines at Vanderbilt that I followed while in industry for disclosures, patent applications, and

record keeping.

        11.       I have published over 400 manuscripts, and am an inventor on 91 issued US

 patents and over 200 published patent applications. Through my involvement in obtaining these




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 patents I have developed an understanding of how the timing and execution of invention

 disclosures and patent filings are handled in the pharmaceutical industry.

        12.       Other accomplishments, awards, and professional memberships are noted in my

 curriculum vitae, which is attached as Exhibit B.

        13.       My areas of expertise include drug discovery and development, particularly in the

 field of oncology and with various kinase inhibitors, including both serine-threonine kinase

 inhibitors and tyrosine kinase inhibitors, transporters, ion channels and GPCRs. I have been

 working on developing tyrosine kinase inhibitors for the treatment of cancer and some fibrotic

 diseases for over 20 years.

 III.   SUMMARY OF OPINIONS

        14.       My opinions, which are set forth in detail below, are as follows:

              •   Claim 1 of the ’625 patent is anticipated by the prior art.

              •   Claim 7 of the ’148 patent and Claim 1 of the ’625 patent would have been

                  obvious to a person of ordinary skill in the art as of the date of the alleged

                  invention.3 In reaching this opinion, I have considered the secondary

                  considerations identified by Plaintiffs as supporting nonobviousness.

              •   Claim 7 of the ’148 patent, Claim 1 of the ’625 patent, and Claim 12 of the ’678

                  patent are not enabled;

              •   Claim 7 of the ’148 patent, Claim 1 of the ’625 patent, and Claim 12 of the ’678

                  patent lack a sufficient written description;


 3
         As discussed below, I understand that Plaintiffs have alleged that the claimed invention
 was conceived by May 20, 2002, and the named inventors worked diligently to reduce the
 invention to practice beginning in November 2002. I further understand that the earliest claimed
 priority date of the ’148 and ’625 patents is November 6, 2003. These claims would have been
 obvious as of either November 6, 2002 or November 6, 2003.
                                                    5
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 became aware that other Src inhibitors could inhibit Abl, Wyeth also tested its Src inhibitors to

 see if they could also inhibit Abl).

         74.     The challenge, at that time, was not only to develop Src inhibitors capable of

 inhibiting cancer growth, but identify those that are also stable in vivo and bioavailable. Irby

 2000 at 5640. By 2001, bosutinib was identified as such a Src inhibitor. See, e.g., Boschelli 2001

 at 3970 (determining, through a xenograft study, that compound 31a (bosutinib) was sufficiently

 bioavailable to inhibit the growth of Src-transformed fibroblasts).

         D.      Availability of § 102(a) Prior Art

         75.     I understand that references that were publicly disclosed after November 6, 2002,

 but before November 6, 2003, fall into a category of prior art referred to as § 102(a) prior art

 with respect to the ’148 and ’625 patents. It is also my understanding that § 102(a) references

 can be disqualified as prior art if Plaintiffs can establish a date of invention that predates the

 publication of the § 102(a) reference.

         76.     It is my understanding, however, that for Plaintiffs to assert an earlier date of

 invention, Plaintiffs must show that the named inventors not only conceived of the invention

 prior to the publication of the § 102(a) reference, but that the named inventors diligently worked

 to reduce the invention to practice from at least just prior to the date of the prior art reference.

 Because the subject matter claimed by the ’148 and ’625 patents was not reduced to practice

 prior to the filing of the priority application on November 6, 2003 (see, e.g., PFE-BO801683588

 at 3590, indicating that Phase I/II trials for bosutinib to treat CML did not begin until December

 2005), I understand that the date of filing of the priority application is considered a date of

 “constructive” reduction to practice. Therefore, I understand that for Plaintiffs to challenge a

 given § 102(a) reference as prior art, Plaintiffs must show conception and diligence in reducing

 the invention to practice from at least the date of that reference (November 16, 2002 to antedate
                                                   25
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 the Boschelli 2002 reference or January 15, 2003 to antedate the Golas 2003 reference) to

 November 6, 2003.

        77.     I have reviewed the evidence that Plaintiffs cite in support of their assertion of

 diligence, and it is my opinion that the named inventors did not diligently work to reduce the

 invention to practice between either November 16, 2002 and November 6, 2003 or January 15,

 2003 and November 6, 2003.

        78.     Plaintiffs have asserted a conception date at least as early as May 20, 2002. See

 Plaintiffs’ Supplemental Objections and Responses to Defendants’ First Set of Interrogatories

 dated November 9, 2018, at Supplemental Response to Interrogatory No. 1. Plaintiffs further

 assert that “[a]t least throughout the period from shortly before the publication of the Donato

 2002 reference on November 16, 2002, through the filing of U.S. Provisional Application

 60/517,819 on November 6, 2003, the named inventors and their colleagues who were involved

 in the development of bosutinib worked diligently to reduce the inventions of the ’148 and ’625

 patents to practice.” See Plaintiffs’ Second Supplemental Objections and Response to

 Defendants’ Interrogatory No. 1, dated January 11, 2019, at p. 3.

        79.     All of the data that was incorporated into the specification of the ’148 and ’625

 patents was obtained before May 20, 2002, as indicated by a draft for a Cancer Research article

 that eventually published January 15, 2003 as the Golas 2003 reference. See, e.g., PFE-

 BOS01772244 and PFE-BOS01772245. The May 2002 draft of the Cancer Research article

 identifies the three named inventors of the ’148 and ’625 patents among its authors: Jennifer

 Weber (maiden name of Jennifer Golas), Kim Arndt, and Frank Boschelli. PFE-BOS01772245.

 This draft discloses that SKI-606, or bosutinib, is not only a Src inhibitor, but “is shown here to

 be a potent antiproliferative and pro-apoptotic agent against chronic myelogenous leukemia cells



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 in culture, at least in part because SKI-606 is also a potent Abl kinase inhibitor.” Id. at 2258.

 The last paragraph of the May 2002 draft article states the following: “Simultaneous inhibition of

 two signal transduction targets important in CML could offer significant therapeutic advantages

 for patients refractory to STI-571 treatment.” Id. at 2260. Thus, at least as early as May 2002,

 the named inventors of the ’148 and ’625 patents appreciated that bosutinib, which

 simultaneously inhibits Src and Bcr-Abl, two of the signal transduction targets important in

 CML, could offer significant therapeutic advantages for patients refrractory to Gleevec.

        80.     However, the last paragraph of the May 2002 draft article also states: “We caution

 that to date, the toxicological properties of SKI-606 have not been examined.” Id. at 2260.

 Thus, as of May 2002, toxicological studies of bosutinib necessary to determine a therapeutically

 effective dose had not yet been performed. As a Wyeth employee testified, rat and dog oral

 maximum-tolerated-dose (“MTD”) studies would be the first studies performed to develop

 bosutinib for an oral oncology indication, such as CML. Clarke Dep. Tr. 36:11-15.5

        81.     However, these oral MTD studies did not begin until long after May 20, 2002.

 Instead, while oral toxicology studies for bosutinib were planned for November 2002, they were

 inexplicably delayed until January 2003. Compare PFE-BOS01593573 (“The rat and dog oral

 MTD studies are tentatively scheduled for late November”) with PFE- B0S01593603 (“The rat

 and dog oral MTD studies are tentatively scheduled to begin dosing in mid January”). In fact,

 toxicology studies for bosutinib did not begin until at least January 28, 2003. See, e.g., PFE-

 BOS01593199 (January 15, 2003 Src meeting minutes stating that “[t]he start date for the rat oral




 5
  While I understand that rat and dog IV MTD studies were being performed, these IV toxicity
 studies were done for the stroke indication, which would not apply to an oncology indication
 such as CML.
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 MTD study is January 28”); see also PFE-BOS01588107 (disclosing that “[t]he dog oral MTD

 study date is scheduled to begin on March 4th [2003]”)

        82.     Thus, after May 20, 2002, there is no evidence of work done to pursue even

 toxicology studies in rats and mice until after the publication of the Golas 2003 article on

 January 15, 2003—on January 28, 2003. Plaintiffs have not produced any evidence to show that

 there was any work done to reduce the inventions of the ’148 and ’625 patents to practice prior to

 the publication of the Boschelli 2002 reference on November 16, 2002 or the Golas 2003 article

 on January 15, 2003. The months of inactivity relating to development of bosutinib for a CML

 indication show that the named inventors were not diligent in reducing to practice the subject

 matter claimed by claim 7 of the ’148 patent and claim 1 of the ’625 patent.

        83.     I reserve the right to supplement my opinions on diligence in response to any

 additional evidence provided by Plaintiffs in a responsive expert report.

        E.      Scope And Content Of The Prior Art Prior to November 6, 2002

        84.     Without intending to be limiting, I provide below descriptions of disclosures and

 teachings of prior art references that relate to the subject matter of the ’148 and ’625 patents.

 These disclosures and teachings are representative of the general knowledge of a POSA and the

 scope of the prior art as of November 6, 2002, one year prior to the earliest priority date of

 the’148 and ’625 patents, which I understand to be the critical date before which any patent or

 printed publication may be considered § 102(b) prior art to the ’148 and ’625 patents. It is my

 understanding that a patentee cannot overcome a reference that is considered § 102(b) prior art

 reference by claiming an earlier date of invention.

                1.      Danhauser-Riedl et al., Activation of Src Kinases p53/56lyn and p59hck
                        by p210bcr/abl in Myeloid Cells, Cancer Research 56:3589 (1996)
                        (“Danhauser 1996”)



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 Respectfully submitted,




 Dated: April 24, 2019


                                    Craig W. Lindsley




                                      77
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                           EXHIBIT C
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                                  PUBLIC VERSION



                         WYETH LLC, et al vs.
                ALEMBIC PHARMACEUTICALS, LTD., et al




                              CRAIG W. LINDSLEY
                                 August 9, 2019




                                   Original File 280367.txt
                           Min-U-Script® with Word Index
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                                                                         85


 1    that plaintiffs cite in support of their assertion
 2    of diligence, and it is my opinion that the named

 3    inventors did not work -- did not diligently work

 4    to reduce the invention of practice between either
 5    November 16, 2002, and November 6, 2003, or

 6    January 15, 2003, and November 6, 2003."

 7                What -- what expertise do you have in what
 8    constitutes diligence to reduce an invention of

 9    practice?
10    A.          Well, it -- you know, so both at Merck --
11    I would say not so much, but the time at

12    Vanderbilt, we work with pharmaceutical companies.
13    They license our programs.           We co -- we codevelop

14    them with them.       And one of the things we have in

15    all of our contracts are very strong diligence

16    language on timelines for development.
17                We can't get companies to agree to

18    maintenance fees, but we always make them agree to

19    timeline-based diligence, so that assets don't sit.

20    We don't want things to be parked at the

21    IND-enabling study stage; we don't want to park

22    something at Phase 1.         So they had defined times to

23    move things along.

24                But then internally at Merck, I mean, I

25    wouldn't necessarily call it "diligence,"
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 1    necessarily, as -- as that defined term, but when
 2    we have a program, we had defined terms in which to

 3    get through certain milestones that was handed down

 4    by the company, the head of the different
 5    divisions.

 6                And so in terms of the oncology

 7    clinicians, the clinical enterprise, they provided
 8    the development team defined timelines, which you

 9    can consider diligence, by which this has to be
10    done by this timeline; you know, everything was 1Q

11    here, 2Q here.       You have to be here, you have to be

12    here, you have to be here.
13                So there were defined milestones, which

14    you could just assume would be diligence.               But I've

15    done a lot of diligence writing to make sure

16    partners don't park assets at various stages.
17    Q.          During your Ph.D. program, did you take

18    any classes on diligence to reduction of practice?

19    A.          That was not part of the Ph.D. program.

20    Q.          Have you ever taught a class on diligence

21    to reduction of practice?

22    A.          No, I have not.

23    Q.          How many articles have you published?

24    A.          I have not published any articles on

25    diligence.
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 1    Q.          But how many articles have you published?
 2    A.          Oh.   Well over 500.

 3    Q.          And none of those relate to diligence?
 4    A.          No.   They're all scientific articles.
 5    Q.          Are you aware of any peer-review journal

 6    in which an article about diligence to reduction of

 7    practice appears?
 8    A.          I am not.

 9    Q.          If you turn to page 57, there's a --
10    Section 9 says, "Claim 1 of the '625 patent is

11    invalid as anticipated by Boschelli 2001."

12                Do you see that?
13    A.          Yes, I do.
14    Q.          And then there is several paragraphs in --

15    in that section.        You just want to maybe just read

16    those, just to put -- put context -- I'm only going
17    to ask you questions about 162, but for context, if

18    you can just read the other ones -- I'm sorry, 163.

19    A.          Okay.

20    Q.          If you go to paragraph 163.           You state,

21    "Furthermore, assuming that CML-inhibiting amount

22    means therapeutically effective, the dosing regimen

23    will determine whether a given pharmaceutical

24    composition is CML-inhibiting or therapeutically

25    effective."
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 1                And then it says, "As explained above, no
 2    single dose can provide a therapeutically effective

 3    amount.     However, it is possible that 3 milligram

 4    bosutinib administered to a human patient 167 times
 5    a day for prescribed number of days could cure or

 6    ameliorate the symptoms of CML, and thus be a

 7    therapeutically effective or CML-inhibiting
 8    amount."

 9                By November 6, 2002, could a scientist
10    working in the field have determined that 167 --

11    administering 3 milligrams of bosutinib 167 times

12    per day would be a therapeutically effective
13    amount --

14                      MR. GRAVELINE:       Objection to the

15    form.

16    Q.          -- for treating CML?
17                      MR. GRAVELINE:       I'm sorry.      Objection

18    to the form.

19    A.          Could you rephrase that, or say that

20    question again, please?

21    Q.          Sure.    If I used the phrase "person of

22    ordinary skill in the art," do you know what I

23    mean?

24    A.          Mm-hmm.

25    Q.          Or POSA?
